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                                                                                      S.D.N.Y. – W.P.
                                                                                          18-cv-1197
                                                                                         Krause, M.J.

                           United States Court of Appeals
                                             FOR THE
                                      SECOND CIRCUIT
                                      _________________

             At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 12th day of June, two thousand twenty-three.

Present:
               Rosemary S. Pooler,
               Susan L. Carney,
               Beth Robinson,
                     Circuit Judges.

Richard Hoffer,

                              Plaintiff-Appellant,

               v.                                                           22-1377

Police Officer Elyssa Tellone, Shield #730387, et al.,

                              Defendants-Appellees,

City of Yonkers, et al.,

                              Defendants.


Appellant, pro se, moves for appointment of pro bono counsel. Upon due consideration, it is
hereby ORDERED that the motion is GRANTED. Cooper v. A. Sargenti Co., 877 F.2d 170, 172–
74 (2d Cir. 1989) (per curiam). Counsel shall be appointed from this Court’s pro bono panel.
Counsel is hereby instructed to brief, among any other issues, whether the magistrate judge erred
by declining to grant an adverse inference spoliation instruction. See Fed. R. Civ. P. 37(e); Fed.
R. Civ. P. 37, 2015 Committee Notes on Rules. Counsel may move in this Court for free
transcripts, seeking either, as relevant to the Rule 37(e) issue, the summation transcripts, or any
transcripts relevant to the issues counsel seeks to raise on appeal.

                                             FOR THE COURT:
                                             Catherine O’Hagan Wolfe, Clerk of Court
